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AO 91 (Rev. 02/09) Criminal Complaint Uy
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UNITED STATES DISTRICT COURT TO
for the bow Ni ; '
District of New Mexico ae ov 2 0 2018
United States of America ) <7
DULL, Brian CaseNo. /B-N1- 47 74
HXX-XX-2965 ) c
)
Defendant

CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of _ 11/13/2018 in the county of Bernalillo in the District of

New Mexico , the defendant violated Title 18 U.S.C. § 922(g)(1) and 924 (a)(2)
, an offense described as follows:
On 11/13/2018 Brian DULL, a previously convicted felon, unlawfully possessed an American Tactical Model 1911GI
handgun bearing serial number GI108003 as well as sixteen (16) rounds of Winchester brand .45 caliber auto
ammunition that has traveled in and affected interstate commerce in violation of Title 18 U.S.C 922(g)(1).

 

This criminal complaint is based on these facts:
See Attached

a“ Continued on the attached sheet.

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Cryer signature
Eli Z. Luc@ro; Task Force Officer, ATF

 

Printed name and title

Sworn to before me and signed in my presence.

Date: | {-20-|&%

 

 

Judge’s signature

City and state: Albuquerque, New Mexico Ki Lan KLoke We C Mogi ctrocks
Fudge

Printed name and title

 
 

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V.

Dull, Brian

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. Eli Z. Lucero, a Task Force Officer with the Bureau of Alcohol, Tobacco,
Firearms, and Explosives (ATF), being duly sworn, deposes and states:

. Your Affiant is a full time salaried sworn law enforcement officer with the
Bernalillo County Sheriff's Department, and has been so for 5 years.

. Approximately two of those years have been spent on the investigation of
federal felony crimes. Part of your Affiant’s duties has included being a
Task Force Officer for the United States Department of Justice, Bureau of
Alcohol, Tobacco, Firearms and Explosives.

In this capacity your Affiant routinely investigates violations of federal
criminal statutes, to include violation of federal firearms laws, and has
specifically investigated violations related to subjects who are found to be in
possession of illegal and altered firearms. Your Affiant requests that an
Arrest Warrant be issued for the above named defendant based on the
following information, which your Affiant believes to be true and accurate.

. Lam an investigative, or law enforcement officer of the United States within
the meaning of Title 18, United States Code, Section 2510 (7), in that Iam
an officer of the United States who is empowered by law to conduct
investigations and make arrests for the offenses enumerated in Titles 18 and
26, United States Code.

. The statements contained in this affidavit are based, in part, on information
provided by Special Agents and Task Force Officers of the ATF and other

 
 

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law enforcement officers; on conversations held with police officers; and on
my background and experience as a Task Force Officer of the ATF.

. This affidavit is intended to show only that there is sufficient probable cause
for the requested warrant and does not set forth all of my knowledge about
this matter.

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for the requested warrant and does not set forth all of my knowledge about
this matter.

PROBABLE CAUSE

. On November 13, 2018, Deputy A. Heredia of the Bernalillo County
Sheriff's Department came in contact with a white Ford pickup truck bearing
New Mexico plate AGJH41 on North Highway 14. Deputy Heredia queried
the license plate and determined that the registration was suspended. A
traffic stop was initiated at 12465 North Highway 14, Cedar Crest, New
Mexico.

10. Deputy Heredia made contact with the driver who was identified as Brian

DULL by State of New Mexico identification card. DULL was queried
through a law enforcement data base and was determined to have a
suspended driver’s license and an active arrest warrant.

11. DULL was placed under arrest and searched. During the search of his

person, a magazine loaded with ammunition was located in his left pocket.
DULL was asked if he had a firearm. He replied that it was underneath the
driver’s seat. The firearm was collected during inventory of the vehicle prior
to being towed.
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DULL, Brian

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12. Deputy Heredia ran a check on the firearm bearing serial number G108003
which returned as stolen. DULL was advised of his rights per Miranda.
DULL said the firearm was given to him to pay off debt that he was owed.
DULL admitted to being a convicted felon. Deputy Heredia conducted a
background check and confirmed that DULL had felony convictions.

13. Task Force Officer (TFO) Eli Lucero of the Bureau of Alcohol, Tobacco,
Firearms and Explosives (ATF) conducted a background investigation and
determined that DULL was convicted of Receiving Stolen Property and
Tampering with Evidence in cause number D-911-CR-1998-00069 out of
the 9" Judicial District Court, Roosevelt County, New Mexico.

14. On November 19, 2018, TFO Eli Lucero viewed the recovered firearm and
ammunition at the Albuquerque Police Department Evidence Laboratory. A
function check was conducted on the American Tactical M1911GI, .45
caliber handgun bearing serial number GI08003. The firearm functioned as
designed. Also viewed were sixteen (16) rounds of .45 Auto caliber,
Winchester brand ammunition. Firearm Nexus Expert, Special Agent Lisa
Gaul, confirmed that the firearm and ammunition are manufactured outside
of the State of New Mexico, thus the firearm and ammunition have traveled

in and affected interstate commerce.
Le) - ST Cr ©

Subscribed and sworn to before me
on November 20, 2018:

HERMOSA

UNITED STATES MAGISTRATE JUDGE
